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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Securities and Exchange Commission
                                            Plaintiff,
v.                                                          Case No.: 1:19−cv−08454
                                                            Honorable Andrea R. Wood
Todays Growth Consultant Inc., et al.
                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 23, 2022:


        MINUTE entry before the Honorable Andrea R. Wood: Defendant Courtright's
motion for an order from this court directing the Circuit of Cook County, Illinois to stay
or vacate its order which interferes with his property and assets in violation of this court's
order [244] is set for a telephonic motion hearing on 1/3/2023 at 10:15 AM. To ensure
public access to court proceedings, members of the public and media may call in to listen
to telephonic hearings. The call−in number is (888) 557−8511 and the access code is
3547847. Counsel of record will receive an email 30 minutes prior to the start of the
telephonic hearing with instructions to join the call. Persons granted remote access to
proceedings are reminded of the general prohibition against photographing, recording, and
rebroadcasting of court proceedings. Violation of these prohibitions may result in
sanctions, including removal of court−issued media credentials, restricted entry to future
hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
the Court. Mailed notice (lma, )




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generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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